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UNITED STATES DISTRICT COURT _`_`_" ‘ ‘
WESTERN DISTRICT OF TENNESSEE 05 AU{,‘ 29 PH 3. 5
Eastern Division ' 3

 

UNITED STATES OF AMERICA

-v- Case No. 1:05cr10067-001T

DONALD ALLEN HOLT

 

ORDER SETT|NG
CONDlT|ONS OF RELEASE

lT IS ORDERED that the release ofthe defendant is subject to the following conditions and provisions;

(l) The defendant shall not commit any offense in violation offederal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Offlce, Probation Offlce, defense counsel

and the U.S. Attomey in writing of any change in address and telephone number.
(3) Tlic defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignrnent in the United States Courthouse and
Federal Building in Courtroom Courtroom # on Day, Date, at Time.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Unsecured Financial Condition

0 The defendant executes an unsecured bond binding the defendant to pay the United States the sum of$lll,l)O()
in the event of a failure to appear as required or to surrender as directed for service of any sentence imposedl

o report as directed by the Pretrial Services Office.

0 Maintain or actively seek employment

0 Refrain from possessing a firearm, destructive device, or other dangerous weapon.

0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretrial Services Off'icer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

¢ Submit to any method of testing required by the Pretrial Services Offtce or the supervising officer for

determining whether the defendant is using a prohibited substance. Such methods may be used with random

This document entered on the docket sheet ln compliance
AO 199.¢\ Order Setllng C.onditlons of Re|ease " l* With HUIe 55 endich 32(b) FR Crp on C 10 l ' 05

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frequency and include urine testing, the wearing ofa sweat patch, a remote alcohol testing system1 and/or any
form of prohibited substance screening or testing.

¢ Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCTlONS:

A violation of any of`the foregoing conditions ot`release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment ofnot more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, vietim, juror, informant or officer of the court. The
penalties for iampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed li`you are convicted of:

tl) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or rnore, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of live years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony1 you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a inisderneanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense Iri addition, a failure to appear may result in the forfeiture of any bond posted

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ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and that l am aware ofthe conditions of release I promise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above.

Signature of Def`endant

Donald Holt

411 Pine Ridge Dr.
Paris, TN 38242
731-642-8504

DIRECTIONS TO THE UN|TED STATES MARSHAL

l:l The defendant is ORDERED released after processing

l:i The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with ali other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

/
Date'. August 23, 2005 é%;f§ //MM;,/

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CR-10067 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed

 

.i ames W. Powell

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Honorable .i ames Todd
US DISTRICT COURT

